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                UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                 :
                                         :    3:20-CR-00228
                       vs.               :
                                         :    (Judge Mariani)
KURT MORAN,                              :
                                         :
                       Defendant         :

                JOINT MOTION TO CONTINUE TRIAL

     The United States of America, by Assistant U.S. Attorney Michelle

L. Olshefski, respectfully moves the Court to continue the trial in this

case. In support of this request the following is submitted:

     1.    On September 15, 2020 an Indictment was filed charging the

defendant with violations of 18 U.S.C. §371, 42 U.S.C. '1320a-

7b(b)(1)(B), 21 U.S.C. §841(a)(1), 18 U.S.C. §1347. Trial is scheduled for

October 19, 2020.

     2.    The parties have been and are currently engaged in a

voluminous discovery process, as well as plea discussions, which may

obviate the need for a trial. Counsel will have further discussions in the

near future in an attempt to conclude plea negotiations but need

additional time to do so.

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     3.    It is respectfully submitted that the ends of justice will be

served by a thirty (30) day continuance of the trial, and that a

continuance for the above reasons outweigh the interest of the public and

the defendant in a speedy trial.

     4.    Counsel for the defendant, Robert Levant, Esquire, concurs

and joins in this Motion to Continue Trial.



                                   Respectfully submitted,

                                   DAVID J. FREED
                                   United States Attorney

Date: October 9, 2020              /s/ Michelle L. Olshefski
                                   Michelle L. Olshefski
                                   Assistant United States Attorney
                                   PA 79643
                                   Office of the U.S. Attorney
                                   Suite 311, 235 North Washington Ave.
                                   Scranton, PA 18503
                                   Phone: (570) 348-2800
                                   Michelle.Olshefski@usdoj.gov




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                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   :
                                           :    3:20-CR-00228
                         vs.               :
                                           :    (Judge Mariani)
KURT MORAN,                                :
                                           :
                        Defendant          :


                   CERTIFICATE OF CONCURRENCE


     I, Michelle L. Olshefski, hereby certify that Robert Levant, Esquire,

counsel for the defendant, concurs in the within Joint Motion to Continue

Trial.




                               /s/ Michelle L. Olshefski
                               ________________________________
                               MICHELLE L. OLSHEFSKI
                               Assistant United States Attorney



Date: October 9, 2020




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                UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                     :
                                             :    3:20-CR-00228
                        vs.                  :
                                             :    (Judge Mariani)
KURT MORAN,                                  :
                                             :
                       Defendant             :


                      CERTIFICATE OF SERVICE

     The undersigned hereby certifies that she is an employee in the

Office of the United States Attorney for the Middle District of

Pennsylvania and is a person of such age and discretion as to be

competent to serve papers.

     That on October 9, 2020, she served a copy of the attached:


                JOINT MOTION TO CONTINUE TRIAL

by electronic filing on the following:

Robert Levant, Esquire, Esquire
Brian J. McMonagle, Esquire

                                             /s/ Christina M. Nihen
                                             Christina M. Nihen
                                             Legal Assistant


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